Case 2:19-cv-13773-SJM-DRG ECF No. 6 filed 01/29/20              PageID.18      Page 1 of 3



                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

     ALEX C. BRIGGINS,                          Case Number: 2:19-cv-13773-SJM-DRG
                                                Hon. Stephen J. Murphy III
          Plaintiff,

     v.

     CONSULTING MANAGEMENT SPECIALTIES INC.,
     STOCKS CREEK MI, LLC
     & all other occupants

          Defendant,

     STEPHEN A. THOMAS (P43260)
     Attorney for Plaintiff
     645 Griswold St., Ste. 1360
     Detroit, MI 48226
     (313)-965-2265
     sthomas@313965bank.com

     PALETZ LAW
     By: Matthew I Paletz (P65009)
            Mircea Iosif (P77016)
     Attorneys for Defendant Stocks Creek, MI, LLC
     2800 Livernois Rd., Ste. 360
     Troy, MI 48083
     248-593-9090
     mpaletz@paletzlaw.com
     miosif@paletzlaw.com
     ________________________________________________________________________
                                       APPEARANCE


          TO:     United States District Court for Eastern District of Michigan; Clerk of the
                  Court;
Case 2:19-cv-13773-SJM-DRG ECF No. 6 filed 01/29/20            PageID.19     Page 2 of 3



            Please enter our Appearance as Attorneys on behalf of Stocks Creek, MI, LLC in
     the above entitled action.
                                                Respectfully submitted,


                                               /s/ Matthew I. Paletz_____
                                               PALETZ LAW
                                               By: Matthew I. Paletz (P65009)
                                                      Mircea Iosif (P77016)
                                               Attorneys for Defendant, Stocks Creek
                                               2800 Livernois Rd., Ste. 360
                                               Troy, MI 48083
                                               (248) 593-9090
                                               mpaletz@paletzlaw.com
                                               miosif@paletzlaw.com
     January 29, 2020
Case 2:19-cv-13773-SJM-DRG ECF No. 6 filed 01/29/20                 PageID.20      Page 3 of 3



                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN

     ALEX C. BRIGGINS,                             Case Number: 2:19-cv-13773-SJM-DRG
                                                   Hon. Stephen J. Murphy III
            Plaintiff,

     v.

     CONSULTING MANAGEMENT SPECIALTIES INC.,
     STOCKS CREEK MI, LLC
     & all other occupants

            Defendant,

     STEPHEN A. THOMAS (P43260)
     Attorney for Plaintiff
     645 Griswold St., Ste. 1360
     Detroit, MI 48226
     (313)-965-2265
     sthomas@313965bank.com

     PALETZ LAW
     By: Matthew I Paletz (P65009)
            Mircea Iosif (P77016)
     Attorneys for Defendant Stocks Creek, MI, LLC
     2800 Livernois Rd., Ste. 360
     Troy, MI 48083
     248-593-9090
     mpaletz@paletzlaw.com
     miosif@paletzlaw.com
                                       PROOF OF SERVICE

     Matthew I. Paletz certifies that on January 29, 2020, he electronically filed the following
     documents:

            (1)     Appearance & Request for Notice of Attorney for Defendant, Stocks
                    Creek, MI, LLC; and
            (2)     This Certificate of Service,

     with the Clerk of the Court using the ECF system which will send notification of such
     filing to the following: Stephen A. Thomas, Esq., sthomas@313965bank.com.

                                                   _/s/ Matthew I. Paletz_________
                                                    Matthew I. Paletz (P65009)
